          Case 1:24-cv-01910-CM Document 1-1 Filed 03/13/24 Page 1 of 2




            CERTIFICATION OF NAMED PLAINTIFF
          PURSUANT TO FEDERAL SECURITIES LAWS
   I, Jonathan Blum, duly certify and say, as to the claims asserted under the federal securities
laws, that:

   1. I have reviewed the complaint and authorized its filing.

   2. I did not purchase the security that is the subject of this action at the direction of plaintiff's
counsel or in order to participate in this action.

    3. I am willing to serve as a representative party on behalf of the class, including providing
testimony at deposition and trial, if necessary.

   4. My transaction(s) in Anavex Life Sciences Corp. which are the subject of this litigation
during the class period set forth in the complaint are set forth in the chart attached hereto.

   5. Within the last 3 years, I have not sought to serve nor have I served as a class
representative in any federal securities fraud case.

   6. I will not accept any payment for serving as a representative party on behalf of the class
beyond the Plaintiff's pro rata share of any recovery, except as ordered or approved by the court,
including any award for reasonable costs and expenses (including lost wages) directly relating to
the representation of the class.

   I certify under penalty of perjury that the foregoing is true and correct. Executed this

   March 12th, 2024

Name: Jonathan Blum

Signature:
          Case 1:24-cv-01910-CM Document 1-1 Filed 03/13/24 Page 2 of 2




Case Name               Anavex Life Sciences Corp.
Ticker                  AVXL
Class Period            01-15-2022 to 01-01-2024

Client Name
Jonathan Blum

  Date of Transaction      Transaction Type            Quantity   Price per Share
     03-18-2022                   P                       0          $ 12.8800
     09-14-2023                   P                       11         $ 08.1100
     11-30-2023                   P                      155         $ 07.1500
     12-03-2023                   P                      100         $ 07.7400
     12-19-2023                   P                      111         $ 09.8800
     12-19-2023                   P                       50         $ 09.9100




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